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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


  JANICE KING-DUNBAR,                        )
                                             )
                     Plaintiff,              )
                                             ) Civil No. 16-1573 (JEB)
                                             )
                                             )
 SYLVIA BURWELL, Secretary                   )
 U.S. DEPT OF HEALTH AND                     )
 HUMAN SERVICES,                             )
                                             )
                     Defendant,              )


            STIP       TION OF SE            MENT AND DIS MISSAL

      Plaintiff Janice King-Dunbar ("Plaintiff') and Defendant Sylvia Burwell,

Secretary, U.S. Department of Health and Human Services (.,Defendant,'), by and

through their respective below-signed attomeys           of   record (collectively the

"parties"), hereby agree and stipulate that this is a global senlement and that the

above-captioned    civil action and all   pending Equal Employment Opporunity

(EEO) administrative complaints (HHS-ACF         -0263 -20 I 4   ;   HHS-ACF-0305_20   15   ;

HHS-ACF-O446-2015; HHS-ACF-0123-20 I 6, HHS-ACF-0060-20                    I   6; and HHS_
ACF-0287-2016) and any complaints plaintiff has filed with the office of Special

Counsel shall be settled and dismissed on the following terms:
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              Settlement Payment. Defendant shall pay Plaintiff the total lump sum

 of $250,000 (two hundred fifty thousand dollars) in satisfaction of alt claims of

 damages and attorneys' fees and legal costs. This payment shall be made by an

 electronic transfer of funds to Plaintiffs counsel's trust account as specified in

 instructions provided   to   defendant's counsel by Plaintiffs counsel     in    writing.

 Payment shall be made as promptly as practicable, consistent with the normal

processing procedures followed by the U.S. Department of Justice and the U.S.

Department of the Treasury, following the dismissal of the above-captioned civil

action pursuant   to   Paragraph   4 hereof. Plaintiff and plaintiffs counsel          shall

cooperate   with Defendant and her counsel to        ensure that   all   documentation

required to process this payment is complete and accurate. ptaintiff shall be solely

responsible for compliance with all federal, state, and local tax filing requirements

and other obligations arising from the aforementioned payment. This payment is

inclusive of Plaintiffs attomey's fees, costs, and other litigation expenses in this

case, and Defendant shall have no further liability for those fees, costs or expenses.

Plaintiff and Plaintiffs counsel shall be responsible for the distribution of the

payment among themselves.

      2.     Defendant shall retroactively promote plaintiff from GS_14 to GS_15,

at the appropriate step, effective May 9,2014. In addition, plaintiff shall            also

receive   all within   grade and annual salary increases as         a    result   of    the


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 aforementioned retroactive promotion until October 29, 2016. Plaintiff shall

 receive all back pay as a result of the aforementioned retroactive promotion and

 within grade and annual salary increases through October 29,2016, Plaintiff agrees

 to voluntarily waive interest payments on back pay received resulting from the

 retroactive promotion. Plaintiff agrees not to seek any or accept employment as a

federal employee or contractor in the Administration for children and Families at

the U.S. Department of Health and Human Services for a period of one year from

the date this Stipulation of settlement and Dismissal becomes effective pursuant to

Paragraph 3 below. Defendant shall process the personnel actions involved and the

payment    of back pay as expeditiously as possible and shall        amend plaintiffs

Official Personnel Folder ("OPF") accordingly.

      3.       OWBP       Com liance    Plaintiff agrees to waive the twenty-one   (21 )

calendar days       within which to consider this Stipulation of settlement and
Dismissal pursuant to the older workers B€nefit protection Act, and that the

waiver of her rights and claims hereunder is a knowing and voluntary waiver.

Plaintiff may revoke her agreement to this stipulation of Settlement and Dismissal

during the seven (7) calendar day period following her execution hereof. Such

revocation must be in writing and delivered to Defendant's below-signed counsel

on or before the seventh calendar day after the date on which plaintiff signs this

Stipulation   of   Settlement and Dismissal. Plaintiff is advised   to consult with   an


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 attorney prior   to signing this Stipulation of Settlement and Dismissal. By                   his

 signature below,    Plaintifls counsel   represents that:   (i) he has served   as   Plaintiffs

attomey with respect      to this matter; (ii) he has examined this Stipulation of
Settlement and Dismissal and has discussed its terms with Plaintiff; and                (iii)   he

believes that the requirements set forth in 29 U.S.C. g 626(0(1XA) - (G) have been

fully satisfied in connection with this Stipulation of Settlement and Dismissal.

      4.      Dismissal with Preiudice. Unless Plaintiff timely exercises her right

to rescind this Stipulation of Settlement and Dismissal as provided in paragraph                 3

hereof, the filing of this Stipulation of Settlement and Dismissal shall constitute a

dismissal   of the   above-captioned   civil action against defendant with            prejudice

purcuant to Fed. R. Civ. P. 4l (a)( I )(A)(ii), as well as a dismissal / withdrawal with

prejudice of all adminishative complaints and claims filed or submitted by plaintiff

or her legal representative. The parties request that the court enter this stipulation

of Settlement and Dismissal as an order so        as   to retain jurisdiction to enforce the

terms hereof. counsel for Defendant shall file the           fully executed Stipulation of
Settlement and Dismissal immediately upon expiration of the revocation period

noted in Paragraph 3.

      5.     Release. This Stipulation provides for the full and                      complete

satisfaction of all claims which have been or could have been asserted by plaintiff

in the above-captioned civil action and all administrative complaints and claims


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 against the U.S. Department of Health and Human Services, including without

 limitation all claims for compensatory damages, back pay, front pay, costs,

 attomey's fees, and interest or other compensation for delay, and Plaintiff agrees

 not to hereafter assert any claim or institute or prosecute any civil action or other

proceeding against Defendant or the United States, or their agencies or officials, or

their present or former employees or agents, in either their official or individual

capacities, with respect to any event complained          of in the above-captioned civil

action or in the administrative complaints pending against the U.S. Department             of
Health and Human Services. Plaintiff hereby fully and forever releases                    and

discharges the Defendant and the United States, their agencies and officials, and

their present and former employees and agents, in their officiat and individual

capacities, from any and         all rights and claims of every kind, nature,            and

description, whether presently known or unknown, which plaintiffnow has or may

have arising out of or in connection with any event occurring on or before the date

on which she has executed this Stipulation of Settlement and Dismissal, including

without limitation any rights or claims under the Fair Labor standards Act of 193g,

the Equal Pay Act      of   1963, Title   VII of the Civil Rights Act of   1964, the Age

Discrimination in Employment Act           of   1967, the Rehabilitation Act   of   1973, the

civil   Service Reform Act     of   1978, the older workers Benefit protection Act         of
1990, the   civil   Rights Act   of   1991, and the Family and Medical Leave Act of


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 1993,   all as amended and currently in effect. In cormection with this        release,

 Plaintiff acknowledges that she is aware that she may hereafter discover rights or

 claims presently unknown and unsuspected, or facts in addition to or different from

those which she now knows with respect to the rights and claims released herein.

Nevertheless,   Plaintiff agrees, through this Stipulation        of   Settlement   and

Dismissal, to settle and release all such rights and claims; provided, however, that

nothing in this Stipulation of Settlement and Dismissal shall affect: (i) any rights or

claims that may arise after the date Plaintiff signs this Stipulation of Settlement and

Dismissal, except    for claims involving alleged discriminatory        compensation

decisions or practices that occurred before the date Plaintiff signs this Stipulation

of Settlement and Dismissal which may affect PlaintifPs future compensation, (ii)

Plaintifls right or entitlement to any retirement, health, or similar        employee

benefits that are available generally to present and former employees of the U.S.

Department of Health and Human Services based on their federal service, or (iii)

the enforcement of the terms of this Stipulation of Settlement and Dismissal.

      6,     No Assienment. Plaintiff represents and warrants that she is the sole

lawful owner of all the rights and claims which she has settled and released herein,

and that she has not transferred or assigned any of those rights and claims or any

interest therein except   to her below-signed attorney of record. plaintiff       shall

indemnifr, hold harmless, and defend Defendant and the united States, their


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 agencies and officials, and their present and former employees and agents, in their

 official and individual capacities, from and against any transferred, assigred, or

 subrogated interests in those rights and claims.

       7. No Admission of Liabili w.            This Stipulation   of   Seftlernent and

Dismissal has been entered into by Plaintiff and Defendant solely for the purposes

of compromising disputed claims without protracted legal proceedings and the

avoidance of the expense and risk ofsuch litigation. Therefore, this Stipulation     of
Settlement and Dismissal is not intended and shalt not be deemed an admission by

either party   of the merit or lack of merit of the opposing party, s claims       and

defenses. without limiting the generality of the foregoing, this Stipulation of

Settlement and Dismissal does not constitute, and shall not be construed as, an

admission that defendant, or the U.S. Department of Health and Human Services,

or any of the Department's present or former employees or agents violated any of

Plaintiffs rights or any laws or regulations, or as an admission of any contested

fact alleged by Plaintiff in connection with this civil action or otherwise. This

Stipulation of Settlement and Dismissal may not be used as evidence or otherwise

in any civil or administrative action or proceeding against defendant. the u.s.

Department of Health and Human Services, or the United states, or any of their

agencies   or officials or present or former employees or agents, either in their



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 official or individual capacities, except for proceedings necessary to implement or

 enforce the terms hereof.

       8.     Tax Consequences. Plaintiff acknowledges that she has not relied on

 any representations by Defendant or Defendant's employees or agents as to the tax

 consequences   of this Stipulation of Settlement and Dismissal or any       payments

made by or on behalf of defendant hereunder. Plaintiff shall be solely responsible

for compliance with all federal, state, and local tax filing requirements and other

obligations arising from this Stipulation     of   Settlement and dismissal that are

applicable to Plaintiff.

      9.     Entire Aqreement. This Stipulation        of   Settlement and Dismissal

contains the entire agreement between the parties hereto and supersedes all

previous agreements, whether written or oral, between the parties relating to the

subject matter hereof. No promise or inducement has been made except as set

forth herein, and no representation or understanding, whether written or ora[, that is

not expressly set forth herein shall be enforced or otherwise be given any force or

effect in connection herewith.

      10.    Amendments. The terms of this Stipulation            of   Settlement and

Dismissal may not be modified or amended, and no provision hereof            sha   be

deemed waived, except by a wriften instrument signed by the party to be charged

with the modification, amendment, or waiver.


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           ll.     Construction. The parties acknowledge that the preparation of this

 Stipulation      ol Settlement and Dismissal was collaborative in    nature, and so agree

 that any presumption or rule that an agreement is construed against its drafter shall

 not apply to the interpretation of this Stipulation of Settlement and Dismissal or

 any term or provision hereof.

           '12.   Headines. The paragraph headings in this Stipulation of Seftlement

 and Dismissal have been inserted for convenience of reference only, and shall not

 limit the scope or otherwise affect the interpretation of any term or provision

hereof,

           13.    Se     biliw . The provisions of this Stipulation of Settlement          and

Dismissal are severable, and any invalidity or unenforceability of any one or more

of its provisions shall not cause the entire agreement to fail or affect the validity or

enforceability of the other provisions herein, which sha[ be enforced without the

severed provision(s)          in   accordance   with the remaining provisions of           this

Stipulation of Settlement and Dismissat.

       14.        Further Assurances. E ach party agrees to take such actions and to

execute such additional documents as may be necessary or appropriate to fully

effectuate and implement the terms of this Stipulation of Settlement and Dismissal.

       I   5'     Rieht to   cure. If   either plaintiff or Defendant at any time   be   lieves

that the other party is in breach of this Stipulation of settlement and Dismissal,
                                                                                   that


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 party shall notiry the other party of the alleged breach. The other party shall then

 have thirry (30) days to cure the breach or otherwise respond to the       claim. The
 parties shall make a good faith effort          to resolve any dispute arising from or
 regarding this Stipulation of Settlement and Dismissal before bringing the dispute

 to the Court's attention.

        16.   Notices. Any notice required or permitted to be given pursuant to this

 Stipulation of Settlement and Dismissal shall be in writing and shall be delivered

by hand, or transmitted by fax or by e-mail, addressed as follows or as each party

may subsequently speci$ by written notice to the other:

              If to Plaintiff: David H. Shapiro,
                               SWICK & SHAPIRO, P.C.
                                    I 101 1 5th Street,
                                                  NW, Suite 1290
                                   Washington D.C. 20005

              If to Defendant:     James E. Simpson,
                                   Attomey, General Law Division
                                   Office ofthe General Counsel
                                   Department of Health and Human Services
                                   330 C Street, S.W. Suite 2600
                                   Washinglon, D.C. 20201

              with copy to:        Chief, Civil Division
                                   Office of the United States Attomev
                                   for the District of Columbia
                                   555 Fourth Street, N.W.
                                   Washington, D.C. 20530

       17.    Execution       This Stipulation of Settlement and Dismissal may      be

executed in two or more counterparts, each of which shall be deemed to
                                                                       be an


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 original and all of which together shall be deemed to be one and the                   same

 agreement. A facsimile or other duplicate ofa signature shall have the same effect

 as a manually-executed    original.

        18.   Govemins Law. This Stipulation of Settlement and Dismissal shall

be governed by the laws of the District of Columbia, without regard to the choice

of law rules utilized in that jurisdiction, and by the laws of the United States.

       19.     Bindine Effect. Upon execution of this Stipulation of Settlement and

Dismissal by all parties hereto, the terms         of this Stipulation of   settlement and

Dismissal shall be binding upon and inure to the benefit of the parties and their

respective heirs, personal representatives, administrators, successors, and assigns;

provided, however, that this Stipulation          of   Settlement and dismissal shall not

become effective     or   enforceable until the revocation period provided             for   in

Paragraph 2 hereof has expired. Each signatory to this stipulation            of   Settlement

and Dismissal represents and warrants that he or she is           fully authorized to   enter

into this Stipulation.

      IN WITNESS WHEREOF,              rhe parties hereto,   directly and/or by and through

their respective attomeys of record, intending to be legally bound, have executed

this Stipulation of Settlement and Dismissal on the dates shown below.




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